






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00760-CV







In re The Brown Schools Rehabilitation Center; Healthcare Rehabilitation Center

of Austin, Inc., and Healthcare-Brown Management Company






ORIGINAL PROCEEDING FROM TRAVIS COUNTY






	Relators' petition for writ of mandamus is denied; motion for temporary relief, and
motion to file documents under seal are overruled.



					                                                                                   

					Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Yeakel

Filed:   December 19, 2002

Do Not Publish


